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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
 9    UNITED STATES OF AMERICA,
10                  Plaintiff,
11                                                           Case No. CR05-152L
             v.
12
                                                             ORDER DENYING MOTION TO
      DUNG VIET DINH, and BINH T. CHAU,                      DISMISS FOR LACK OF VENUE
13
                    Defendants.
14

15          This matter comes before the Court on “Defendant Dinh’s Motion to Dismiss Counts 2 Through

16   44 for Lack of Venue” (Dkt. # 94). Defendant Binh T. Chau subsequently joined the motion. (Dkt. #

17   102). Under the venue statute, an offense may be prosecuted “where it was begun, continued, or

18   completed.” 18 U.S.C. § 3237(a). The government alleges that the information was stolen from

19   Starbucks headquarter in Washington and that fiduciary losses accrued to Washington-based banks and

20   individuals. See Complaint (Dkt. #1). Venue in the Western District of Washington is proper. IT IS

21   HEREBY ORDERED that Defendant’s motion to dismiss is DENIED.

22          DATED this 26th day of October, 2005.

23

24                                                      A
                                                        Robert S. Lasnik
25                                                      United States District Judge
26

27    ORDER DENYING MOTION TO
      DISMISS FOR LACK OF VENUE                        1
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